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 8                                  UNITED STATES DISTRICT COURT
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                                  EASTERN DISTRICT OF CALIFORNIA
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11   JUSTIN GARCIA,                                  )   Case No.: 1:17-cv-00374 LJO JLT
                                                     )
12                  Plaintiff,                       )   ORDER TO PLAINTIFF TO SHOW CAUSE WHY
                                                     )   SANCTIONS SHOULD NOT BE IMPOSED FOR
13          v.                                       )   FAILURE TO PROSECUTE THE ACTION AND
     MUSHEER A. KAKISH, et al.,                      )   TO COMPLY WITH THE COURT’S ORDERS;
14
                                                     )   ORDER CONTINUING SCHEDULING
15                  Defendants.                      )   CONFERENCE
                                                     )
16                                                   )

17          On March 14, 201, the plaintiff filed the instant action. (Doc. 1) On the same day, the Court
18   issued the summonses (Doc. 4) and its order setting the mandatory scheduling conference to occur on
19   May 15, 2016. (Doc. 5) In its order setting the mandatory scheduling conference, the Court advised
20   counsel:
21          The Court is unable to conduct a scheduling conference until defendants have been
            served with the summons and complaint. Accordingly, plaintiff(s) shall diligently
22          pursue service of summons and complaint and dismiss those defendants against whom
            plaintiff(s) will not pursue claims. Plaintiff(s) shall promptly file proofs of service of
23          the summons and complaint so the Court has a record of service. Counsel are referred
            to F.R.Civ.P., Rule 4 regarding the requirement of timely service of the complaint.
24          Failure to timely serve summons and complaint may result in the imposition of
            sanctions, including the dismissal of unserved defendants.
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26   (Doc. 5 at 1-2, emphasis added) Nevertheless, Plaintiff has not filed a proof of service of the
27   summons and complaint as to Musheer Kakish or Keith Church. Therefore, the Court ORDERS,
28          1.      No later than May 19, 2017, the plaintiff SHALL show cause why sanctions should not

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 1   be imposed for the failure to serve and file proof of service on Musheer Kakish and Keith Church.
 2   Alternatively, the plaintiff may file proof of service of on these defendants.
 3           2.       Due the failure of the plaintiff to serve the summonses and complaint, the scheduling
 4   conference, currently set on May 15, 2017 is CONTINUED to July 6, 2017 at 8:30 a.m.
 5           Plaintiff is reminded of the service obligations under Fed. R. Civ. P. 4.1 Failure to comply
 6   may result in the imposition of sanctions, including the dismissal of unserved defendants.
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 8   IT IS SO ORDERED.
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         Dated:      May 9, 2017                                        /s/ Jennifer L. Thurston
10                                                             UNITED STATES MAGISTRATE JUDGE

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28     Fed. R. Civ. P. 4(m) requires the Court sua sponte to dismiss defendants who have not been served within 90 days of the
     filing of the complaint unless good cause is shown.

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